                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR11-0107-LRR
 vs.
                                                               ORDER
 JESSE KAISER,
               Defendant.

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       This matter comes before the court on the defendant’s motion to terminate appointed
counsel (docket no. 113). The defendant filed such motion on January 21, 2015. This
case is closed, and appointed counsel is no longer representing the defendant.
Nonetheless, it appears that the defendant does not want appointed counsel to receive
notice of filings that he submits pro se. Accordingly, the motion to terminate appointed
counsel is granted. The clerks office is directed to terminate appointed counsel.
       IT IS SO ORDERED.
       DATED this 26th day of January, 2015.




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